
		
OSCN Found Document:IN RE APPROVAL OF REVISED JUVENILE DEPRIVED UNIFORM ORDERS

					

				
  



				
					
					
						
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				IN RE APPROVAL OF REVISED JUVENILE DEPRIVED UNIFORM ORDERS2024 OK 7Case Number: Decided: 02/12/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 7, __ P.3d __

				

In re: Approval of Revised Juvenile Deprived Uniform Orders
¶1 The Court has reviewed the recommendation of the Oklahoma Supreme Court Juvenile Justice Oversight and Advisory Committee and hereby adopts the attached revised juvenile deprived uniform orders effective May 1, 2024. The Court further directs that all judges with juvenile docket responsibilities use the attached forms beginning May 1, 2024.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 12th day of February, 2024.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR


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